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        IN THE UNITED STATES DISTRICT COURT FOR THE
                EASTERN DISTRICT OF MISSOURI
                   SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                   )
ex rel. ERIC S. SCHMITT, in his official )
capacity as Missouri Attorney General, )
                                         )
                  Plaintiff,             )
                                         )
       v.                                )       Case No. 1:20-cv-00099
                                         )
THE PEOPLE’S REPUBLIC OF                 )
CHINA, et al.,                           )
                                         )
                  Defendants.            )

                        ENTRY OF APPEARANCE

      COMES NOW D. John Sauer, Solicitor General, and enters his

appearance on behalf of Plaintiff State of Missouri.


                                           Respectfully submitted,

                                           ERIC S. SCHMITT
                                           ATTORNEY GENERAL


                                    By:     /s/ D. John Sauer
                                           D. JOHN SAUER, #58721
                                           Solicitor General
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                      CERTIFICATE OF SERVICE

     I certify that on July 16, 2020, this Entry of Appearance was filed and

served through the Court’s CM/ECF system upon all counsel of record.


                                           /s/ D. John Sauer
                                          D. JOHN SAUER




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